                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

BRIAN DAVID BRUMBACH,

               Petitioner,                                   Criminal Case Number 09-00227
v.                                                           Civil Case Number 16-00776
                                                             Honorable David M. Lawson
UNITED STATES OF AMERICA,

               Respondent.
                                               /

                   ORDER REINSTATING JUDGMENT OF SENTENCE

       On April 4, 2018, the Court granted the petitioner’s motion to vacate his sentence, and on

June 26, 2018, after further proceedings, the Court entered an amended judgment of sentence. The

government appealed. However, on July 11, 2019, the Sixth Circuit Court of Appeals reversed

the decision of this Court granting the petitioner’s motion to vacate his sentence and remanded the

case with instructions to reinstate the original sentence.

       Accordingly, it is ORDERED that the amended judgment of sentence (No. 09-00227, ECF

No. 95) is VACATED, and the original judgment of sentence (No. 09-00227, ECF No. 88) is

REINSTATED.

                                                             s/David M. Lawson
                                                             DAVID M. LAWSON
                                                             United States District Judge
                                                             Sitting by special designation

Date: August 6, 2019




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